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                                UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF ALABAMA
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DEBRA P. HACKETT, CLERK
                                                                          TELEPHONE (334) 954-3600


                                          April 30, 2015




                          NOTICE OF VOLUNTARY DISMISSAL


       Re:     Stephanie Roswell v. AFNI, Inc.
               Civil Action No. 3:15-cv-00143-SRW


       Pursuant to the #9 Joint Stipulation of Dismissal with Prejudice filed by the
       parties on 4/30/2015 and Fed. R. Civ. P. 41(a)(1)(A)(ii), this case is
       dismissed with prejudice, without an order of the court and has been closed
       and removed from the docket of this court.
